            Case: 20-71923, 04/03/2023, ID: 12687773, DktEntry: 68, Page 1 of 2

                      UNITED STATES COURT OF APPEALS
                                                                       FILED
                               FOR THE NINTH CIRCUIT
                                                                       APR 03 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




 ANTONIO DE LA ROSA-                              No. 20-71923
 RODRIGUEZ, AKA Antonio Delarosa
 Rodriguez,
                                                  Agency No. A208-084-297
                 Petitioner,                      Board of Immigration Appeals

   v.                                             ORDER

 MERRICK B. GARLAND, Attorney
 General,

                 Respondent.


        The amicus brief submitted by Separation of Powers Clinic on April 3, 2023

is filed.

        Within 7 days of this order, amicus curiae is ordered to file 18 copies of the

brief in paper format with green covers, accompanied by certification (attached to

the end of each copy of the brief) that the brief is identical to the version submitted

electronically. The Form 18 certificate is available on the Court's website, at

http://www.ca9.uscourts.gov/forms.

        The paper copies shall be submitted to the principal office of the Clerk. The

address for regular U.S. mail is P.O. Box 193939, San Francisco, CA 94119-3939.

The address for overnight mail is 95 Seventh Street, San Francisco, CA 94103-

1526.
Case: 20-71923, 04/03/2023, ID: 12687773, DktEntry: 68, Page 2 of 2

                                     FOR THE COURT:

                                     MOLLY C. DWYER
                                     CLERK OF COURT

                                     By: Janne Nicole Millare Rivera
                                     Deputy Clerk
                                     Ninth Circuit Rule 27-7
